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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 2:11-cr-449-KJM
12                      Plaintiff,
13          v.                                         ORDER
14   BRIAN JUSTIN PICKARD, et al.,
15                      Defendants.
16

17                  The court held a hearing in this matter on May 21, 2014, and provided tentative

18   guidance on the subject matter raised by the four questions the court had posed to the parties in a

19   prior order (ECF 271 at 3-4).

20                  In light of discussion with the parties, the court vacates June 2, 2014 as the date

21   for the pre-evidentiary hearing date and sets new dates as follows.

22                  Defendants shall file their proffers of witnesses and declarations that will serve as

23   direct testimony by June 20, 2014. Plaintiff shall file its proffers of witnesses and declarations

24   that will serve as direct testimony by July 25, 2014.

25                  The parties are directed to meet and confer and file a joint report by August 8,

26   2014, addressing the following details related to the evidentiary hearing: (1) the time each side

27   requests to present evidence; (2) the exhibits each side proposes to introduce; (3) any stipulations

28   between and among the parties; and (4) proposed dates for the hearing. Also by August 8, 2014,
                                                      1
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 1   the parties shall file any motions in limine and Daubert motions, with oppositions due by August
 2   15, 2014. A pre-evidentiary hearing confirmation proceeding will be held on August 18, 2014 at
 3   9 a.m.
 4                 IT IS SO ORDERED.
 5   DATED: May 22, 2014.
 6
                                              UNITED STATES DISTRICT JUDGE
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